
PRYOR, Circuit Judge,
concurring in part and dissenting in part:
I agree with the majority’s reading of the decision of the Supreme Court of Florida, which answered our certified question, but for the reasons expressed in section 2 of my earlier partial dissenting opinion, MDS (Canada), Inc. v. Rad Source Techs., Inc., 720 F.3d 833, 859-63 (11th Cir.2013) (Pryor, J., concurring in part and dissenting in part), I would still reverse in part. In my view, the district court erred when it ruled that Nordion lacked standing to seek damages for the breach of the non-compete clause by Rad Source. I would remand to allow Nordion an opportunity to prove its damages.
